                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

DENNIS G. LOMAX,                             )
                                             )
                      Plaintiff,             )
                                             )
       v.                                    )
                                             )        Case No. 3:19-cv-30025-KAR
WIKIMEDIA FOUNDATION, INC.; and              )
JOHN DOES 1-9,                               )
                                             )
                      Defendants.            )
                                             )

             CORPORATE DISCLOSURE STATEMENT OF DEFENDANT
                      WIKIMEDIA FOUNDATION, INC.

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned counsel of

record for Defendant Wikimedia Foundation, Inc. (“Wikimedia”) states as follows:

       Wikimedia is a 501(c)(3) charity and nonprofit organization that has no parent

corporation, and no publicly held company owns 10% or more of the stock of Wikimedia.



Dated: May 20, 2019                              Respectfully submitted,


                                                 /s/ Erik N. Doughty

                                                 Christopher M. Morrison (BBO #651335)
                                                 Erik N. Doughty (BBO #691487)
                                                 JONES DAY
                                                 100 High Street, 21st Floor
                                                 Boston, MA 02110
                                                 Telephone: (617) 960-3939
                                                 Facsimile: (617) 449-6999
                                                 cmorrison@jonesday.com
                                                 edoughty@jonesday.com

                                                 Attorneys for Defendant Wikimedia
                                                 Foundation, Inc.
                                  CERTIFICATE OF SERVICE

       I, Erik N. Doughty, hereby certify that I caused a true copy of the foregoing Corporate

Disclosure Statement of Defendant Wikimedia Foundation, Inc. to be served through the ECF

system on all parties registered to receive ECF notices in this case, and to Plaintiff via first class

mail, postage prepaid.


Dated: May 20, 2019                                /s/ Erik N. Doughty
Boston, Massachusetts                              Erik N. Doughty




                                                   2
